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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


VLSI TECHNOLOGY LLC,                            §
            Plaintiff                           §
                                                §        A-19-CV-00977-ADA
-v-                                             §
                                                §
INTEL CORPORATION,                              §
            Defendant                           §


                       ORDER APPOINTING TECHNICAL ADVISOR

       The Court hereby appoints Dr. Joshua J. Yi to serve as the Technical Advisor to the Court

in this case. During the pendency of this case, Dr. Yi has provided significant assistance to the

Court with claim construction, discovery-related issues, and motions for summary judgment and

Daubert motions. Because of Dr. Yi’s technical expertise and his experience with this case, the

Court believes it would helpful to appoint him as a technical advisor so he can continue to advise

the Court regarding any technical issues that may arise during the MSJ/Daubert hearing(s) and

subsequent trial(s).



SIGNED this 4th day of December, 2020.




                                     ALAN D ALBRIGHT
                                     UNITED STATES DISTRICT JUDGE
